 EXHIBIT C


STATE COURT
    FILE
                                                                                                     Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
                                                                              20SL-CC04219

                      IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                 STATE OF MISSOURI

PREE C. MARTIN f/k/a                          )
PREE C. JETT, individually, and on            )
Behalf of all others similarly situated,      )
                                              )
         Plaintiff,                           )      Case No.:
                                              )
v.                                            )      Division
                                              )
LVNV FUNDING, LLC,                            )
                                              )
Serve registered agent at:                    )
Corporation Service Company                   )
251 Little Falls Drive                        )
Wilmington, Delaware 19808                    )
                                              )
         Defendant.                           )

                                  CLASS ACTION PETITION

         COMES NOW Plaintiff Pree C. Martin, formerly known as Pree C. Jett, individually, and

on behalf of all others similarly situated, and for her Class Action Petition against Defendant

LVNV Funding, LLC, states:

                          Introduction, Parties, Jurisdiction and Venue

         1.      This case is about requiring a debt buyer, LVNV Funding, to abide by simple rules

before obtaining default judgments in Missouri courts. Missouri law requires a special process

server to first be appointed by the Court to serve process. A default judgment is void if personal

jurisdiction is premised on a return of service signed by a process server not appointed by the

Court.

         2.      This action derives from LVNV Funding’s misuse of court process to obtain default

judgments against Pree Jett and numerous other persons. LVNV Funding obtained default
                                                                                                       Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
judgments against Jett and the putative class members without first obtaining personal jurisdiction.

The judgments are void.

        3.     Plaintiff Pree C. Martin, formerly known as Pree C. Jett (“Jett”) is an individual

who resides in St. Louis County, Missouri.

        4.     Defendant LVNV Funding, LLC (“LVNV”), is a Delaware limited liability

company who at all times material to this petition has been in good standing to transact business

in Missouri.

        5.     LVNV’s primary line of business is purchasing charged-off debt for pennies on the

dollar and collecting said debts.

        6.     LVNV Funding regularly uses court process to collect debts.

        7.     LVNV uses default judgments, transcripts of judgment and garnishments in

Missouri courts as leverage to get consumers to pay debts it believes are owed to LVNV.

        8.     A transcript of judgment acts as a lien on certain property the judgment debtor

owns.

        9.     Obtaining default judgments and recording transcripts of judgment are of value to

LVNV as they increase the likelihood LVNV will be able to collect a debt.

        10.    Obtaining default judgments and recording transcripts of judgment are of value to

LVNV because it increases the value of the debt if it wishes to sell the debt to another debt buyer.

        11.    Venue and Jurisdiction is proper in this Court because this Court is a court of

competent jurisdiction to adjudicate the disputes at issue.




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                                        The Jett Lawsuit

        12.    LVNV filed a lawsuit against Jett in the Associate Circuit Court of Jefferson

County, Missouri., Case No. 10JE-AC00443 (“the lawsuit”).

        13.    LVNV alleged in the lawsuit that Jett owed a credit card debt to Sears and that

LVNV “is the holder of a valid assignment” of the account.

        14.    LVNV filed a request to appoint special process servers to serve Jett.

        15.    Jett requested that the Court sign and approve its request to appoint the special

process servers. A true and accurate copy of LVNV’s request is attached as Exhibit 1.

        16.    LVNV requested that Lawrence Roth, Richard Raymond, Marybeth Rice, James

Bromeier, Mark Rauss, and Guy Denis be appointed as special process servers to serve Jett.

        17.    The Court did not approve LVNV’s request to appoint a special process server.

        18.    On March 5, 2010, LVNV filed a return of service purporting to serve Jett’s brother,

“John Doe (Joe).” A true and accurate copy of the return of service is attached as Exhibit 2.

        19.    The return of service was signed by special process server Mark Wilcox.

        20.    Mark Wilcox was not appointed by the Court to serve process on Jett.

        21.    On March 16, 2010, LVNV requested that a default judgment be entered against

Jett.

        22.    On March 16, 2010, the Court entered a default judgment against Jett for $2,546.61

plus court costs and post-judgment interest of 9% per annum. The judgment consisted of $2,014.04

in “Principal” and $502.57 in “interest.” A true and accurate copy of the default judgment is

attached as Exhibit 3.




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         23.    Neither the Court nor the Court Clerk entered an order approving the appointment

of the special process servers requested by LVNV to serve process. In other words, no process

server was appointed by the Court or the Court Clerk to serve the summons and petition on Jett.

         24.    Even if the Court or the Court Clerk entered an order approving the appointment of

LVNV’s requested special process servers, Mark Wilcox would not have been appointed as his

name was not included on LVNV’s motion to appoint special process servers.

         25.    The March 16, 2010 judgment entered against Jett is void as a matter of law because

Mr. Wilcox was not appointed to serve the summons and petition on Jett.

         26.    On February 25, 2014, LVNV filed a transcript of judgment. A true and accurate

copy of the transcript of judgment is attached as Exhibit 4.

         27.    While the judgment is void a matter of law, on March 4, 2020, LVNV filed a

“Motion for Revival of Judgment.”

         28.    LVNV’s motion requested that the judgment be revived in the amount of $4,300.34,

plus court costs and interest accruing at 9% per annum.

         29.    LVNV subsequently served Jett with a show cause order to appear in court

concerning LVNV’s “Motion for Revival of Judgment.”

         30.    Upon being served, Jett retained and paid counsel to respond to LVNV’s “Motion

for Revival of Judgment.”

  Count I – Class and Individual Violations of the Missouri Merchandising Practices Act,
                                 §407.010, RSMo. et seq.
         31.    Jett incorporates the allegations of the previous paragraphs as if fully stated in this

Count.

         32.    Jett seeks to represent a class of persons defined as follows:

         All Missouri citizens as of the date of the filing of this Petition named by LVNV as
         defendants in collections actions in Missouri state courts and: (1) a default

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       judgment was taken; and, (2) in such action, the defendant was served by a person
       not appointed by the Court or Court Clerk to serve process; and, (3) from five years
       prior to the filing of this Counterclaim LVNV maintained a transcript of judgment
       against the person(s) who had the default judgment entered against them and/or
       caused any person to incur an out-of-pocket loss.

       Excluded from the class are persons who, prior to entry of a default judgment, were
       served by a sheriff, served by a person appointed by the court or clerk to serve
       process, appeared personally in court, or had counsel appear on their behalf.

       33.     LVNV represented in the collection lawsuits filed against Jett and the putative class

members that Jett and the putative class members entered into financial agreements with various

entities and owed money on said obligations. Said obligations were entered into primarily for

personal, family or household purposes.

       34.      The debts upon which LVNV sued Jett and the putative class members are

“merchandise” as defined by §407.020 et seq., RSMo. because the term includes “services” and

“goods.”

       35.     LVNV and Jett and the putative class members agreed that the sales transactions,

i.e., the providing of a loan or other financial agreements, would not be complete until Jett and the

putative class members paid in accordance with LVNV’s payment demands.

       36.     The financial agreements were not completed when LVNV engaged in the

collection activities against Jett and the putative class members.

       37.     LVNV’s collection activities against Jett and the putative class members were

undertaken in relation to the purported financial agreements provided by LVNV’s assignors to Jett

and the putative class members.

       38.     LVNV’s collection efforts against Jett and the putative class members were

undertaken in an attempt to complete the various financial transactions.




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       39.     LVNV’s collection efforts against Jett and the putative class members were part of

its effort to enforce the terms of the various financial transactions.

       40.     LVNV engaged in deceptive and/or unfair practices in violation of §407.020 et seq.,

RSMo. and the regulations governing the Missouri Merchandising Practices Act by failing to

obtain personal jurisdiction and taking default judgments and maintaining transcripts of judgment

against Jett and the putative class members. Such conduct was undertaken in connection with the

connection of the sale of the goods and/or services at issue.

       41.     LVNV engaged in deceptive and/or unfair practices in violation of §407.020 et seq.,

RSMo. and the regulations governing the Missouri Merchandising Practices Act by collecting

monies and attempting to collect monies from Jett and the putative class members after default

judgments were entered against them by maintaining transcripts of judgments and through other

means even though the judgments are void. Such conduct was undertaken in connection with the

connection of the sale of the goods and/or services at issue.

       42.     The judgments entered against Jett and the putative class members are void as a

matter of law and should be declared void by this Court. This Court should direct LVNV to set

aside these judgments.

       43.     Jett and the putative class members are entitled to recovery of actual damages and

attorney’s fees pursuant to §407.025.1, RSMo 2016.

       44.     LVNV has acted on grounds generally applicable to the class by taking default

judgments based on returns of service signed by special process servers who were not appointed

by the Clerk or the Court to serve process and by subsequently maintaining transcripts of

judgments. This makes injunctive or declaratory relief appropriate for Jett and the putative class

members.



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          45.   On information and belief, there are numerous class members and joinder of all

class members is impracticable.

          46.   Jett’s claims are typical of the claims of the putative class members.

          47.   Common questions of law and fact apply to the class. These questions may include,

but are not limited to:

          a)    Whether LVNV’s conduct as described in this Petition is governed by the Missouri

Merchandising Practices Act;

          b)    Whether LVNV improperly requested and obtained default judgments in Missouri

courts;

          c)    Whether LVNV improperly maintained transcripts of judgments;

          d)    Whether persons who served process in collection actions brought by LVNV were

appointed by the Court or Court Clerk to serve process;

          e)    Whether LVNV’s conduct violates the Missouri Merchandising Practices Act and

its corresponding regulations; and,

          f)    Whether Jett and the putative class members are entitled to damages and attorney’s

fees under §407.025.1, RSMo. 2016.

          48.   Jett will fairly and adequately represent the putative class members.

          49.   Jett has retained counsel experienced in the prosecution of class actions, and Jett is

committed to vigorously prosecuting the claims.

          50.   Questions of law and fact common to the putative class members predominate over

any questions of fact or law affecting any individual member of the putative class.

          51.   A class action is superior to other methods for the fair and efficient adjudication of

this controversy.



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         WHEREFORE Plaintiff Pree C. Jett, individually, and on behalf of all others similarly

situated, requests that the Court enter judgment against Defendant LVNV Funding LLC in excess

of $25,000.00 and grant the following relief:

         a)     enter an order pursuant to Missouri Supreme Court Rule 52.08(b)(3) and/or

52.08(b)(2) certifying this action as a class action, and appointing Jett as class representative;

         b)     enter an order appointing Butsch Roberts & Associates LLC and Joseph V. Neill

as class counsel;

         c)     enter judgment in favor of Jett and the class for all damages available under the

Missouri Merchandising Practices Act, including actual damages, attorneys’ fees, pre-judgment

interest, post-judgment interest and costs incurred in bringing this action;

         d)     enter an order or judgment declaring that the judgments entered against Jett and the

class members are void as a matter of law and ordering LVNV to set aside all such judgments;

         e)      award Jett and the class all expenses incurred in the litigation and require LVNV

to pay the costs and expenses of class notice and administration; and,

         f)     award Jett and the class all taxable court costs and any other relief that this Court

deems just and proper.

                                   Count II – Unjust Enrichment

         52.    Jett incorporates the allegations of the previous paragraphs as if fully stated in this

Count.

         53.    Jett seeks to represent a class of persons defined as follows:

         All Missouri citizens as of the date of the filing of this Petition LVNV as defendants
         in collections actions in Missouri state courts and: (1) a default judgment was taken;
         and, (2) in such action, the defendant was served by a person not appointed by the
         Court or Court Clerk to serve process; and, (3) from five years prior to the filing of
         this Counterclaim LVNV maintained a transcript of judgment against the person(s)


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       who had the default judgment entered against them and/or caused any person to
       incur an out-of-pocket loss.

       Excluded from the class are persons who, prior to entry of a default judgment, were
       served by a sheriff, served by a person appointed by the court or clerk to serve
       process, appeared personally in court, or had counsel appear on their behalf.

       54.     LVNV was enriched by maintaining default judgments and transcripts of judgments

arising from its void default judgments and/or by monies collected while said judgments and

transcripts of judgment were maintained by LVNV.

       55.     LVNV’s enrichment was at the expense of Jett and the putative class members.

       56.     It would be unjust to allow LVNV to retain the benefit of the default judgments,

transcripts of judgments and/or monies collected from Jett and the putative class members because

it received these benefits under the guise that Missouri courts had personal jurisdiction over Jett

and the putative class members when personal jurisdiction did not exist.

       57.     Jett and the putative class members were damaged as a proximate result of LVNV

obtaining/retaining said judgments and transcripts of judgment and/or receiving monies collected

after said judgments were entered.

       58.     LVNV has acted on grounds generally applicable to the class by taking default

judgments based on returns of service signed by special process servers not appointed by the Clerk

or the Court to serve process. This makes injunctive or declaratory relief appropriate for Jett and

the putative class members.

       59.     On information and belief, there are numerous class members and joinder of all

class members is impracticable.

       60.     Jett’s claims are typical of the claims of the putative class members.

       61.     Common questions of law and fact apply to the class. These questions may include,

but are not limited to:

                                                 9
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         (a)    Whether LVNV used individuals to serve process in collection suits who were not

appointed by the Court of Court Clerk to serve process;

         (b)    Whether the default judgments obtained by LVNV are void as a matter of law; and,

         (c)    Whether it would be unjust to allow LVNV to retain the benefit of the default

judgments, transcripts of judgments and/or subsequent monies collected.

         62.    Jett will fairly and adequately represent the putative class members.

         63.    Jett has retained counsel experienced in the prosecution of class actions, and Jett is

committed to vigorously prosecuting the claims.

         64.    Questions of law and fact common to the putative class members predominate over

any questions of fact or law affecting any individual member of the putative class.

         65.    A class action is superior to other methods for the fair and efficient adjudication of

this controversy.

         66.    Jett requests damages on behalf of herself and the putative class members in the

amount LVNV was unjustly enriched by              improperly maintaining default judgments and

transcripts of judgment against Jett and the putative class members.

         67.    Jett requests that the Court enter an order on behalf of herself and the putative class

members declaring the judgments void as a matter of law and ordering LVNV to set said judgments

aside.

         WHEREFORE Plaintiff Pree C. Jett, individually, and on behalf of all others similarly

situated, requests that the Court enter judgment against LVNV Funding, LLC in excess of

$25,000.00 and grant the following relief:

         a)     enter an order pursuant to Missouri Supreme Court Rule 52.08(b)(3) and/or Rule

52.08(b)(2) certifying this action as a class action, and appointing Jett as class representative;



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       b)      enter an order appointing Butsch Roberts & Associates LLC and Joseph V. Neill

as class counsel;

       c)      enter judgment in favor of Jett and the class for all available damages and pre-

judgment interest, post-judgment interest and costs incurred in bringing this action;

       d)      enter an order or judgment declaring that the judgments entered against Jett and the

class members are void as a matter of law and ordering LVNV to set aside all such judgments;

       e)       award Jett and the class all expenses incurred in the litigation and require LVNV

to pay the costs and expenses of class notice and administration; and,

       f)      award Jett and the class all taxable court costs and any other relief that this Court

deems just and proper.

                                                          JURY TRIAL DEMANDED

                                                          BUTSCH ROBERTS & ASSOCIATES LLC

                                                      By: /s/ Christopher E. Roberts
                                                         David T. Butsch #37539
                                                         Christopher E. Roberts #61895
                                                         231 South Bemiston Ave., Suite 260
                                                         Clayton, MO 63105
                                                         (314) 863-5700 (telephone)
                                                         (314) 863-5711 (fax)
                                                         butsch@butschroberts.com
                                                         roberts@butschroberts.com

                                                          Joseph V. Neill #28472
                                                          5201 Hampton Avenue
                                                          St. Louis, Missouri 63109
                                                          (314) 353-1001(telephone)
                                                          (314) 353-0181(fax)
                                                          neill5300@aol.com

                                                          Attorneys for Plaintiffs




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       EXHIBIT 1
  20SL-CC04219
Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
 20SL-CC04219
    EXHIBIT 2
Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
      EXHIBIT 3
 20SL-CC04219
Electronically Filed - Jefferson
                       St Louis County
                                 - February
                                        - August
                                            25, 2014
                                                 18, 2020
                                                      - 12:59
                                                           - 12:22
                                                              PM AM
   20SL-CC04219
          EXHIBIT 4
                                                                                                                                   Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
                                                                                                 20SL-CC04219
In the
CIRCUIT COURT                                                                                   ┌                              ┐
                                                                                                       For File Stamp Only
Of St. Louis County, Missouri
                                                         August 17, 2020
                                                        _________________________
 PREE C, MARTIN f/k/a PREE C. JETT
__________________________________________              Date
Plaintiff/Petitioner
                                                        _________________________
                                                        Case Number
vs.
                                                        _________________________
 LVNV FUNDING, LLC
__________________________________________              Division

                                                                                                └                              ┘
Defendant/Respondent




                       REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiff Pree C. Martin f/k/a Pree C. Jett             pursuant
                                               Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Daniel Newcomb                3516 Silverside Rd. Wilmington, DE                302-429-0657
        Name of Process Server                         Address                                                     Telephone

        ___________________________________________________________________________
         Sharlene Ryan           3516 Silverside Rd. Wilmington, DE      302-429-0657
        Name of Process Server                         Address or in the Alternative                               Telephone

        ___________________________________________________________________________
        Name of Process Server                         Address or in the Alternative                               Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:                                                       SERVE:
         Registered Agent - Corporation Service Company
        ____________________________________________                 ____________________________________________
        Name                                                         Name
         251 Little Falls Drive
        ____________________________________________                 ____________________________________________
        Address                                                      Address
         Wilmington, Delaware 19808
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        SERVE:                                                       SERVE:
        ____________________________________________                 ____________________________________________
        Name                                                         Name
        ____________________________________________                 ____________________________________________
        Address                                                      Address
        ____________________________________________                 ____________________________________________
        City/State/Zip                                               City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                ___________________________________________
                                                                     Signature of Attorney/Plaintiff/Petitioner
                                                                     ___________________________________________
        By ________________________________________                  Bar No.
            Deputy Clerk                                             ___________________________________________
                                                                     Address
        ___________________________________________                  ___________________________________________
        Date                                                         Phone No.                                  Fax No.



        CCADM62-WS         Rev. 08/16
                                                                                     Electronically Filed - St Louis County - August 18, 2020 - 12:22 AM
Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

            (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
http://www.stlouisco.com. (LawandPublicSafety/Circuit/Forms).

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 08/16
               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 20SL-CC04219
 NANCY WATKINS MCLAUGHLIN
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 PREE C MARTIN                                               CHRISTOPHER ELISHA ROBERTS
                                                             SUITE 200
                                                             231 SOUTH BEMISTON AVE.
                                                       vs.   CLAYTON, MO 63105
 Defendant/Respondent:                                       Court Address:
 LVNV FUNDING, LLC                                           ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                             105 SOUTH CENTRAL AVENUE
                                                             CLAYTON, MO 63105
 CC Other Tort                                                                                                               (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                       (Except Attachment Action)
    The State of Missouri to: LVNV FUNDING, LLC
                              Alias:
  R/A COPRORATION SERVICE COMPANY
  WILMINGTON, DE 19808


     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                              notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov, or
                              through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
    ST. LOUIS COUNTY          proceeding.

                                 26-AUG-2020                                        ____________________________________________________
                                  Date                                                                         Clerk
                                Further Information:
                                MG
                                                 Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
          leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years who permanently
           resides with the Defendant/Respondent.
              .
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________        ___________________________________________________________
                  Printed Name of Sheriff or Server                                       Signature of Sheriff or Server
                                Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                I am: (check one)    the clerk of the court of which affiant is an officer.
                                                     the judge of the court of which affiant is an officer.
           (Seal)                                    authorized to administer oaths in the state in which the affiant served the above summons.
                                                      (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                            ___________________________________________________________
                                                                                                  Signature and Title




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-787      1        (20SL-CC04219)                             Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                               506.500, 506.510 RSMo
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                            See the following page for directions to clerk and to officer making return on service of summons.




                                   Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion and/or petition must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion and/or petition when offered to him, the return
     shall be prepared to show the offer of the officer to deliver the summons and motion and/or petition and the
     Defendant’s/Respondent's refusal to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the individual personally or by
     leaving a copy of the summons and motion and/or petition at the individual's dwelling house or usual place of abode with
     some person of the family over 15 years of age, or by delivering a copy of the summons and motion and/or petition to an agent
     authorized by appointment or required by law to receive service of process; (2) On Guardian. On an infant or incompetent
     person who has a legally appointed guardian, by delivering a copy of the summons and motion and/or petition to the guardian
     personally; (3) On Corporation, Partnership or Other Unincorporated Association. On a corporation, partnership or
     unincorporated association, by delivering a copy of the summons and motion and/or petition to an officer, partner, or
     managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent with the person
     having charge thereof or by delivering copies to its registered agent or to any other agent authorized by appointment or
     required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. On a public, municipal,
     governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case
     of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body
     or to any person otherwise lawfully so designated.

          Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

          Service may be made in any state or territory in the United States. If served in a territory, substitute the word "territory"
     for the word "state."

          The officer making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant's authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to appear
     in court. The return should be made promptly, and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-787          2         (20SL-CC04219)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                         506.500, 506.510 RSMo
                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                     Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.
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OSCA (7-04) SM60 For Court Use Only: Document ID# 20-SMOS-787   3    (20SL-CC04219)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                   506.500, 506.510 RSMo
   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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Electronically Filed - St Louis County - September 15, 2020 - 11:13 AM
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  09/15/2020           Affidavit Filed
                       Affidavit of Service.
                           Filed By: CHRISTOPHER ELISHA ROBERTS
                           On Behalf Of: PREE C MARTIN

  08/26/2020           Summ Issd- Circ Pers Serv O/S
                       Document ID: 20-SMOS-787, for LVNV FUNDING, LLC.Summons Attached in PDF Form for Attorney
                       to Retrieve from Secure Case.Net and Process for Service.

  08/18/2020           Filing Info Sheet eFiling
                           Filed By: CHRISTOPHER ELISHA ROBERTS
                       Motion Special Process Server
                       Request for Special Process Server.
                         Filed By: CHRISTOPHER ELISHA ROBERTS
                         On Behalf Of: PREE C MARTIN
                       Pet Filed in Circuit Ct
                       Petition; Exhibit 1; Exhibit 2; Exhibit 3; Exhibit 4.
                       Judge Assigned
                       DIV 21
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